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14                                 UNITED STATES DISTRICT COURT

15                               NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17
     COMMUNITY LEGAL SERVICES IN EAST ) Case No. 3:25-cv-02847-AMO
18   PALO ALTO,                         )
                                        ) DEFENDANTS’ STATUS REPORT
19            Plaintiffs,               )
                                        )
20     v.                               )
                                        )
21   UNITED STATES DEPARTMENT OF        )
     HEALTH AND HUMAN SERVICES, ET AL., )
22                                      )
              Defendants.               )
23                                      )
                                        )
24                                      )

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     DEFENDANTS’ STATUS REPORT
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 1         Pursuant to the Court’s Order dated April 29, 2025, ECF No. 87, Defendants submit this Status

 2 Report. Since Defendants’ last Status Report, filed on May 23, 2025, see ECF No. 104, there have been

 3 no material developments.

 4
     DATED: July 7, 2025                              Respectfully submitted,
 5

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